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15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
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17
      UNITED STATES OF AMERICA,                No. SA CR 19-061-JVS
18
                 Plaintiff,                    GOVERNMENT’S EX PARTE APPLICATION
19                                             FOR (1) CONTINUANCE OF TRIAL DATES
                       v.                      AND (2) FINDINGS OF EXCLUDABLE
20                                             TIME PERIODS PURSUANT TO SPEEDY
      MICHAEL JOHN AVENATTI,                   TRIAL ACT
21
                 Defendant.                    PROPOSED TRIAL DATES:
22                                               July 26, 2022 (Counts 1-10)
                                                 February 21, 2023 (Counts 11-36)
23

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25          Plaintiff United States of America, by and through its counsel

26    of record, the United States Attorney for the Central District of

27    California and Assistant United States Attorneys Brett A. Sagel and

28    Ranee A. Katzenstein, seeks entry of an order: (1) continuing the
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 1    trial dates on Counts 1 to 10 of the Indictment to July 26, 2022, and

 2    the trial dates on Counts 11 to 36 of the Indictment to February 21,

 3    2023; and (2) excluding time from the Speedy Trial Act calculation of

 4    excludable delay.

 5          1.    The Indictment in this case was filed on April 10, 2019.

 6    Defendant first appeared before a judicial officer of the court in

 7    which the charges in this case were pending on April 1, 2019.             The

 8    Speedy Trial Act, 18 U.S.C. § 3161, originally required that the

 9    trial commence on or before June 19, 2019.

10          2.    On April 29, 2019, the Court set a trial date of June 4,

11    2019, at 8:30 a.m., and a status conference date of May 20, 2019, at

12    9:00 a.m.

13          3.    On May 17, 2021; August 30, 2019; March 26, 2020; and June

14    4, 2020, the Court continued the trial date in this case from June 4,

15    2019, to December 8, 2020, and found the interim period to be

16    excluded in computing the time within which the trial must commence,

17    pursuant to the Speedy Trial Act.         (CR 34; CR 66; CR 126; CR 171.)

18          4.    On October 19, 2020, during a pretrial motions hearing, the

19    Court granted defendant’s motion to sever Counts 1 to 10 of the

20    Indictment from Counts 11 to 36 of the Indictment.           (CR 364.)

21    Pursuant to a stipulation of the parties (CR 385), he Court set the

22    trial on Counts 1 to 10 for February 23, 2021, and the trial on

23    Counts 11 to 36 for October 12, 2021, and found the interim period to

24    be excluded in computing the time within which the trial must

25    commence, pursuant to the Speedy Trial Act.          (CR 386.) On January 25,

26    2021, the Court continued the trial on Counts 1 to 10 to July 13,

27    2021, and found the interim period to be excluded in computing the

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 1    time within which the trial must commence, pursuant to the Speedy

 2    Trial Act. (CR 407.)

 3            5.     On July 13, 2021, trial commenced on Counts 1 to 10.          (CR

 4    553.)    On August 24, 2021, the Court granted defendant’s motion for a

 5    mistrial.      (CR 780.)   On August 26, 2021, during a telephonic status

 6    conference, the Court proposed dates for a new trial and directed the

 7    parties to file a speedy trial stipulation and proposed order

 8    regarding the dates for the trials on Counts 1 to 10 and on Counts 11

 9    to 36.       (CR 781.)

10            6.     On September 2, 2021, pursuant to a stipulation of the

11    parties, the Court continued the trial on Counts 1 to 10 to November

12    2, 2021, and the trial on Counts 11 to 36 to May 10, 2022, and found

13    the interim periods to be excluded in computing the time within which

14    the trials must commence, pursuant to the Speedy Trial Act.            (CR

15    804.)

16            7.     On October 4, 2021, the Court denied defendant’s motion to

17    dismiss all counts of the indictment.         (CR 838.)    On October 12,

18    2021, defendant filed his notice of appeal to the Court of Appeals

19    for the Ninth Circuit (“Ninth Circuit”) of the denial of his

20    dismissal motion (CR 852) and argued that the Court was divested of

21    jurisdiction during the pendency of the appeal (CR 861).            The Court

22    found it was divested of jurisdiction based on defendant’s appeal (RT

23    10/15/21 at 4).      Defendant’s appeal sought the dismissal of all

24    thirty-six counts in the Indictment, thus vacating both trial dates

25    previously set by the Court.

26            8.     On March 16, 2022, the Ninth Circuit filed and entered a

27    memorandum opinion affirming this Court’s denial of defendant’s

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 1    motion to dismiss all counts of the indictment due to double

 2    jeopardy, prosecutorial misconduct, contempt of this Court’s January

 3    25, 2021, order, and violations of defendant’s right to due process.

 4    (CR 917.)    On April 26, 2022, the Ninth Circuit denied defendant’s

 5    petition for rehearing and/or rehearing en banc.           (CR 920.)   The

 6    Ninth Circuit issued its mandate on May 4, 2022, restoring

 7    jurisdiction to this Court.       (CR 925.)    The Speedy Trial Act requires

 8    that the trial in this matter commence on or before July 13, 2022.

 9    18 U.S.C. § 3161(e) (trial following an appeal shall commence within

10    70 days from the date the action occasioning the retrial becomes

11    final).

12          9.    At a status conference on May 6, 2022, the Court set a

13    trial date of July 5, 2022, for Counts 1-10.          Defendant stated he

14    would waive his rights under the Speedy Trial Act and agree to a

15    later trial date, i.e., beyond the July 13, 2022, date required by

16    the Speedy Trial Act, due to his need to travel to and from the

17    Southern District of New York for his sentencing on a separate

18    criminal case pending in that district.         With respect to Counts 11-

19    36, the Court stated: “I will let [the parties] meet and confer.              I

20    think that the contemplation is basically a four to six-month gap

21    between Phase I and Phase II.       I want you to meet and confer and come

22    back to me with something.       If not, tell me that you are unable to

23    agree, and I will make the findings under the Speedy Trial Act.”              (RT

24    5/6/22 at 12.)     The Court stated that it was “pretty clear” that the

25    time was excluded pursuant to the Speedy Trial Act on all counts

26    during defendant’s interlocutory appeal.         (Id. at 13.)     Defendant

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 1    raised no objection, and only asked to be permitted to participate in

 2    the next status conference by video.        (Id.)

 3          10.   On May 6, 2022, in compliance with the Court’s directive to

 4    the parties to meet and confer regarding a trial date on Counts 11-

 5    36, the government emailed defendant through his stand-by counsel and

 6    paralegals proposing February 21, 2023, as a trial date on Counts 11-

 7    36.   On May 9, 2022, one of the defense paralegals replied: “Thank

 8    you for the email.     Mr. Avenatti kindly requests that you prepare a

 9    stipulation and send it to him for review.”          On May 12, 2022, the

10    government sent defendant a proposed stipulation to continue the

11    trial on Counts 1-10 to July 5, 2022, and on Counts 11-36 to February

12    21, 2023, and exclude time under the Speedy Trial Act, along with a

13    proposed order including the appropriate findings.           After receiving

14    no response from defendant, the government sent a follow-up email on

15    May 17, 2022.      Defendant did not respond to the follow-up

16    communication either.

17          11.   On May 19, 2022, the Court held a status conference to

18    address the trial date and motion hearing related to Counts 1-10, in

19    light of defendant’s June 2, 2022, sentencing in New York.            With the

20    consent of the parties, the Court continued the trial date for Counts

21    1-10 to July 26, 2022.      (CR 939.)

22          12.   On June 8, 2022, the government emailed defendant through

23    his stand-by counsel and paralegals an updated proposed stipulation

24    to continue the trial dates and exclude time under the Speedy Trial

25    Act and corresponding proposed order incorporating the Court’s

26    determination at the May 19, 2022, status conference to continue the

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 1    trial on Counts 1-10 to July 26, 2022, and stipulating to a February

 2    21, 2023, date for the trial on Counts 11-36.

 3          13.   On June 12, 2022,1 Defendant provided the following

 4    position to be included in this ex parte application: “Mr. Avenatti

 5    will file his written response to the ex parte application as

 6    permitted under the rules. In his response, Mr. Avenatti will explain

 7    that (a) he has no objection to the trial on Counts 1-10 of the

 8    indictment proceeding on July 26, 2022 as previously set by the Court

 9    and (b) he opposes the setting of any trial date for Counts 11-36

10    because any such trial would be violative of Mr. Avenatti's rights

11    under the Sixth Amendment and the Speedy Trial Act. Further, on or

12    before June 24, 2022, Mr. Avenatti intends on filing a motion to

13    dismiss Counts 11-36 based on defendant's rights under the Sixth

14    Amendment and the Speedy Trial Act.”

15          14.   The following facts demonstrate good cause to support the

16    appropriate findings under the Speedy Trial Act:

17                a.   Defendant is charged in a 36-count indictment with:

18    ten counts of wire fraud, in violation of 18 U.S.C. § 1343; eight

19    counts of willful failure to collect and pay over withheld taxes, in

20    violation of 26 U.S.C. § 7202; one count of endeavoring to obstruct

21    the administration of the Internal Revenue Code, in violation of 26

22    U.S.C. § 7212(a); ten counts of willful failure to file tax returns,

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            1On June 12, 2022, at 1:53 p.m., defendant filed a notice of
24    his intent to change his plea to “multiple counts” of the indictment
      claiming he wished to plead “to be accountable; accept
25    responsibility; avoid his former clients being further burdened; save
26    the Court and the government significant resources; and save his
      family further embarrassment.” (CR 945.) Approximately one hour
27    later, at 2:56 p.m., defendant informed the government that he
      opposed the proposed continuation of the trial date for Counts 11-36
28    and intended to move to dismiss Counts 11-36.
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 1    in violation of 26 U.S.C. § 7203; two counts of bank fraud, in

 2    violation of 18 U.S.C. § 1344(1); one count of aggravated identity

 3    theft, in violation of 18 U.S.C. § 1028A(a)(1); three counts of false

 4    declaration in bankruptcy, in violation of 18 U.S.C. § 152(3); and

 5    one count of false testimony under oath in bankruptcy, in violation

 6    of 18 U.S.C. § 152(2).

 7                b.   The trial estimate on Counts 1-10 is approximately

 8    four to six weeks and on Counts 11-36 is approximately six weeks.

 9                c.   The Prosecution Team has produced over a million pages

10    in discovery as well as numerous digital devices.           Pursuant to a

11    Court Order, the government produced a copy of the Eagan Avenatti LLP

12    servers to defendant in September 2021, which contains approximately

13    15 Terabytes of data.      Due to the nature of the prosecution, this

14    case is so unusual and complex that it is unreasonable to expect

15    adequate preparation for pretrial proceedings or for the trial itself

16    within the Speedy Trial Act time limits for the following reasons,

17    among others:    First, Counts 11-36 charge various tax fraud offenses

18    arising in connection with defendant’s own individual tax obligations

19    and the tax obligations of various entities defendant controlled,

20    which offenses span approximately ten years and involve substantial

21    financial records and transactions; bankruptcy fraud charges; and

22    bank fraud and identity theft charges; second, the government has

23    produced to defendant voluminous discovery regarding these charges,

24    including extensive financial, bank and tax records.

25                d.   On September 29, 2021, defendant filed a motion in

26    limine to exclude expert testimony of John Drum and request for a

27    Daubert hearing.     (CR 833.)    On October 11, 2021, defendant filed a

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 1    motion for an order to show cause re civil contempt and finding of

 2    contempt; and motion to compel discovery.         (CR 851.)    The motions

 3    remain pending before the court and are scheduled to be heard on June

 4    27, 2022.

 5                e.   Failure to continue the trial dates would likely make

 6    a continuation of the proceeding impossible or result in a

 7    miscarriage of justice.

 8                f.   The requested continuances are not based on congestion

 9    of the Court’s calendar, lack of diligent preparation on the part of

10    the attorney for the government, or failure on the part of the

11    attorney for the government to obtain available witnesses.

12                g.   The government is requesting an Order excluding time

13    through and including July 26, 2022, from the period within which the

14    trial on Counts 1 to 10 must commence, but understand that the trial,

15    or at least the jury selection process, may begin the week prior to

16    July 26, 2022.

17                h.   The government is requesting an Order excluding time

18    through and including February 21, 2023, from the period within which

19    the trial on Counts 11 to 36 must commence, but understand that the

20    trial, or at least the jury selection process, may begin the week

21    prior to February 21, 2023.

22          15.   For purposes of computing the date under the Speedy Trial

23    Act by which defendant’s trial on Counts 1 to 10 of the Indictment

24    must commence, the government submits and defendant does not dispute

25    that the time period of October 12, 2021, to July 13, 2022,

26    inclusive, should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(C)

27    because that is a period of delay resulting from an interlocutory

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 1    appeal; the period of May 4, 2022, to July 26, 2022, inclusive,

 2    should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

 3    (h)(7)(B)(i) because the delay results from a continuance granted by

 4    the Court on its own motion, without objection from defendant or the

 5    government, on the basis of the Court’s finding that: (i) the ends of

 6    justice served by the continuance outweigh the best interest of the

 7    public and defendant in a speedy trial; and (ii) failure to grant the

 8    continuance would be likely to make a continuation of the proceeding

 9    impossible, or result in a miscarriage of justice; and the time

10    period of September 29, 2021, to either June 27, 2022, or the prompt

11    disposition of defendant’s motions, inclusive, should be excluded

12    pursuant to 18 U.S.C. § 3161(h)(1)(D), because it constitutes a delay

13    resulting from a pretrial motion, from the filing of the motion

14    through the prompt resolution of the motion.

15          16.   For purposes of computing the date under the Speedy Trial

16    Act by which defendant’s trial on Counts 11 to 36 of the Indictment

17    must commence, the government submits that the time period of October

18    12, 2021, to July 13, 2022, inclusive, should be excluded pursuant to

19    18 U.S.C. § 3161(h)(1)(C) because that is a period of delay resulting

20    from an interlocutory appeal; the period of October 12, 2021, to

21    February 21, 2023, inclusive, should be excluded pursuant to 18

22    U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(ii) because the

23    delay results from a continuance granted by the Court on its own

24    motion, on the basis of the Court’s finding that: (i) the ends of

25    justice served by the continuance outweigh the best interest of the

26    public and defendant in a speedy trial; (ii) failure to grant the

27    continuance would be likely to make a continuation of the proceeding

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 1    impossible, or result in a miscarriage of justice; and (iii) the case

 2    is so unusual and so complex, due to the nature of the prosecution,

 3    that it is unreasonable to expect preparation for pre-trial

 4    proceedings or for the trial itself within the time limits

 5    established by the Speedy Trial Act; the time period of May 4, 2022,

 6    to July 26, 2022, or the conclusion of the trial on Counts 1-10,

 7    inclusive, should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(B)

 8    because the delay results from trial with respect to other charges

 9    against defendant; and, to the extent the motions relate to Counts

10    11-36, the time period of September 29, 2021, to either June 27,

11    2022, or the prompt disposition of defendant’s motions, inclusive,

12    should be excluded pursuant to 18 U.S.C. § 3161(h)(1)(D), because it

13    constitutes a delay resulting from a pretrial motion, from the filing

14    of the motion through the prompt resolution of the motion.

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 1          17.   Nothing in this ex parte application shall preclude a

 2    finding that other provisions of the Speedy Trial Act dictate that

 3    additional time periods be excluded from the period within which

 4    trial must commence.      Moreover, the same provisions and/or other

 5    provisions of the Speedy Trial Act may in the future authorize the

 6    exclusion of additional time periods from the period within which

 7    trial must commence.

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 9     Dated: June 15, 2022                 Respectfully submitted,
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